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                         IN THE UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TEXAS
                                  SHERMAN DIVISION

 KINGMAN HOLDINGS, LLC, AS TRUSTEE, §
 OF THE TWIN CREEEK DRIVE 707 LAND §
 TRUST                              §
      Plaintiff,                    §
                                    §
 v.                                 §                   CIVIL ACTION NO. 4:22-cv-00033
                                    §
 SPECIALIZED LOAN SERVICING, LLC    §
      Defendant                     §


                                STIPULATION OF DISMISSAL


 Come now Kingman Holdings, LLC as Trustee, Plaintiff, and Specialized Loan Servicing, LLC,
 Defendant, and file this Stipulation of Dismissal with Prejudice.

 The parties would show that the parties have resolved controversies and that the case can be
 dismissed with prejudice.

                                              Respectfully submitted,

                                              HUGHES WATTERS ASKANASE, LLP


                                              By: /s/ Damian W. Abreo
                                                      Damian W. Abreo
                                                      State Bar No. 24006728
                                                      dabreo@hwa.com (E-mail)
                                                      Total Plaza
                                                      1201 Louisiana Street, 28th Floor
                                                      Houston, Texas 77002
                                                      (713) 759-0818 (Telephone)
                                                      (713) 759-6834 (Facsimile)

                                              ATTORNEY FOR DEFENDANT,
                                              SPECIALIZED LOAN SERVICING, LLC




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                                              LAW OFFICES OF KENNETH S. HARTER


                                              By: /s/ Kenneth S. Harter
                                                      Kenneth S. Harter
                                                      State Bar No. 09155300
                                                      ken@kenharter.com (E-mail)
                                                      5080 Spectrum Dr., Suite 1000-E
                                                      Addison, Texas 75001
                                                      (972) 752-1928 (Telephone)
                                                      (214) 206-1491 (Facsimile)

                                              ATTORNEY FOR PLAINTIFF,
                                              INGMAN HOLDINGS, LLC




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